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14   Attorneys for Defendant
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15

16                               UNITED STATES DISTRICT COURT
17                               EASTERN DISTRICT OF CALIFORNIA
18

19   CALIFORNIA SPORTFISHING                      Case No. 2:21-cv-00073-MCE-JDP
     PROTECTION ALLIANCE,
20                                                NOTICE OF RELATED CASES
                    Plaintiff,
21                                                Judge:       Hon. Jeremy D. Peterson
           v.
22                                                Action Filed: January 14, 2021
     PACIFIC BELL TELEPHONE COMPANY,              Trial Date:   None
23
                    Defendant.
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     NOTICE OF RELATED CASES                                   CASE NO. 2:21-cv-00073-MCE-JDP
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 1          Pursuant to L.R. 123(b), counsel for defendant Pacific Bell Telephone Company (“Pacific

 2   Bell”) respectfully submits this notice to inform the Court of the following related cases:

 3          1.      Pacific Bell Telephone Co. v. Jones, E.D. Cal. Case No. 2:23-cv-03052-KJM-DB.

 4   This action relates to a third-party subpoena Pacific Bell served on Seth Jones. This case was

 5   transferred to this Court from the U.S. District Court for the Southern District of California on

 6   December 21, 2023.

 7          2.      Pacific Bell Telephone Co. v. Marine Taxonomic Services, Ltd., E.D. Cal. Case

 8   No. 2:24-cv-00022-DJC-CKD. This action relates to a third-party subpoena Pacific Bell served

 9   on Marine Taxonomic Services, Ltd. This case was transferred to this Court from the U.S. District

10   Court for the Southern District of California on December 22, 2023.

11          3.      California Sportfishing Protection Alliance v. Pacific Bell Telephone Co., E.D.

12   Cal. Case No. 2:24-mc-00004-DAD-DB. This action relates to a third-party subpoena Pacific Bell

13   served on the Environmental Defense Fund. The case was transferred to this Court from the U.S.

14   District Court for the District of Columbia on December 28, 2023.

15          Given Judge Peterson’s familiarity with the above-captioned litigation and discovery

16   processes, including third-party discovery, assignment of these related matters to Judge Peterson

17   would promote efficient use of judicial resources.

18          Respectfully submitted,

19   DATED: January 10, 2024                              PAUL HASTINGS LLP
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                                                          By: /s/ Navi Singh Dhillon
21                                                             NAVI S. DHILLON
22                                                        Attorneys for Defendant
                                                          PACIFIC BELL TELEPHONE COMPANY
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     NOTICE OF RELATED CASES                                             CASE NO. 2:21-cv-00073-MCE-JDP
